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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
Plaintiff, CIVIL ACTION NO.
v. 1:17-cv-07659-KMW

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FRIEDMAN REALTY GROUP, INC., )

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Defendant.
CONSENT DECREE
On October 30, 2018, Plaintiff, the U.S. Equal Employment Opportunity Commission (“EEOC”
or “Commission” or “Plaintiff’), filed an Amended Complaint under Title VII of the Civil Rights Act of
1964, as amended (“Title VII”), and Title I of the Civil Rights Act of 1991 alleging that Defendant,
Friedman Realty Group, Inc. (“Defendant”) unlawfully discriminated against Briana Mazzella
(“Mazzella”) by subjecting her to disparate treatment and discharge based on sex, specifically, pregnancy.
The parties desire to resolve this action without the time and expense of continued litigation and, as a
result, have jointly formulated a plan to be embodied in a Consent Decree (“Decree”) that will promote
and effectuate the purposes of Title VII. Defendant does not admit to any wrongdoing or having engaged
in any discrimination as claimed in this matter.

The Court has examined this Decree and finds that it is reasonable, just, and in accordance with

the Federal Rules of Civil Procedure and Title VII. Therefore, upon due consideration of the record herein

and being fully advised in its premises, it is ORDERED, ADJUDGED, AND DECREED:
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RELEASE OF CLAIMS
. This Decree fully and completely resolves all issues, claims, and allegations raised in the Amended
Complaint filed by the Commission in this action (“the Complaint”) against Defendant.
. This Decree in no way affects the Commission’s right to bring, process, or investigate any other
pending or future charges of discrimination that may be filed against Defendant or to commence
civil actions on any such charges as the Commission sees fit.

SCOPE OF DECREE
. This Decree shall apply to Defendant’s facilities in Pennsylvania and New Jersey.
. This Decree shall be in effect for a period of two and a half (2.5) years from the date it is entered
by the Court.
. This Court shall retain jurisdiction over this matter and the parties for the duration of the Decree to
enforce compliance with the Decree, including by issuing such orders as may be required to
effectuate the purpose of the Decree. If the Court determines that Defendant has failed to meet the
established terms at the end of two and a half (2.5) years, the duration of the Decree may be
extended.

MONETARY RELIEF
. Within fourteen (14) days after entry of this Decree, Defendant shall issue to Mazzella a check in
the amount of $30,000 for back pay and a check in the amount of $30,000 for non-pecuniary
compensatory damages.
. Defendant shall prepare and issue a W-2 form for the 2019 tax year to Mazzella for the amount of
monetary relief designated as back pay. Lawful employment payroll deductions shall be deducted

from the back pay amount, and the deductions shall be itemized.

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any practice that the individual reasonably believed to be unlawful under Title VII or the PDA; (c)
testified or participated in any manner in any discrimination investigation (including, without
limitation, any internal discrimination investigation undertaken by Defendant) or proceeding,
including any such investigation or proceeding undertaken in connection with the Complaint; (d)
was identified as a possible witness or claimant in this action; or (f} sought and/or received any
relief in accordance with this Decree. Such conduct violates Title Vl, as set forth below:

It shall be an unlawful employment practice for an employer to discriminate against any of

his employees . . . because he has opposed any practice made an unlawful employment

practice by this subchapter, or because he has made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing under this

subchapter.
42 U.S.C. § 2000e-3{a).

EQUITABLE RELIEF
Policies and Procedures
Defendant has recently adopted and disseminated a pregnancy discrimination policy prohibiting
unlawful acts under Title VII and the PDA, including retaliation. Within fourteen (14) days upon
entry of this Decree, Defendant shall provide the EEOC’s counsel of record a copy of a signed
acknowledgement form from each employee who has received a copy of the policy certifying that
he or she has received, read, and understood the policy. Defendant shall disseminate a copy of the
policy, with the acknowledgment form, to anyone who is interviewed and hired after the entry of
this Decree and for the duration of this Decree.
Training

Defendant will provide pregnancy discrimination training that addresses its pregnancy

discrimination policy and Title VII, with a special emphasis on the PDA, to the following
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8. Defendant shall prepare and issue a 1099 form for the 2019 tax year to Mazzella for the amount of
monetary relief designated as non-pecuniary compensatory damages. Mazzella shall be responsible
for all federal and state taxes in connection with this payment.

9. The checks and IRS forms shall be sent directly to Mazzella, via certified mail, at the address
provided by the EEOC’s counsel of record and a photocopy of the checks and related
correspondence shall be sent to the EEOC’s counsel of record at the same time that the documents
are sent to Mazzella.

INJUNCTIVE RELIEF

10. Defendant, its officers, agents, servants, employees, successors, and assigns, and all those in active
concert or participation with them, or any of them, are hereby enjoined from engaging in any
employment practice that discriminates on the basis of pregnancy. Such conduct violates Title VII
and the Pregnancy Discrimination Act of 1978 (“PDA”), which, in part, is set forth below:

[t shall be an unlawful employment practice for an employer --
(1)... to discriminate against any individual with respect to his [or her] . . . terms,
conditions, or privileges of employment, because of such individual’s ...sex....

42 U.S.C. § 2000e-2(a)(1).

(k} The terms ‘because of sex’ or ‘on the basis of sex’ include, but are not limited to,
because of or on the basis of pregnancy... .

42 U.S.C. § 2000e(k).

11. Defendant, its officers, agents, servants, employees, successors, and assigns, and all those in active
concert or participation with them, or any of them, are further enjoined from retaliating against any
individual, including current and former employees, because he or she in the past, or during the
term of this Decree: (a) asserted his or her rights under Title VII or the PDA, including by filing a

charge of discrimination or filing an internal discrimination complaint with Defendant; (b) opposed
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employees, who, following the entry of this Decree, are hired or promoted: all management, non-
management, and human resources employees and all employees authorized to address pregnancy
discrimination and retaliation complaints, employees authorized to investigate such complaints, and
employees authorized to review the appeals of such complaints. This training shal! be no less than
two (2) hours and shall be provided for the duration of this Decree within | (one) month of the date
of the employee’s hire or promotion. Training sessions conducted after the entry of this Decree
can be a recording of another training session Defendant has conducted on the same topics. Within
fourteen (14) days upon the completion of each training, Defendant shall obtain a signed
acknowledgement form from each employee who receives the training certifying that he or she
understood the topics discussed therein.

Beginning in September 2019, and occurring annually thereafter until September 2021, Defendant
will conduct training that addresses its pregnancy discrimination policy and Title VII, with a special
emphasis on the PDA, and any new developments under Title VII and the PDA. This training shall
be no less than one (1) hour and shall be conducted as a live, in person training, session. Within
fourteen (14) days upon the completion of each training, Defendant shall obtain a signed
acknowledgement form from each employee who receives the training certifying that he or she

understood the topics discussed therein.

Notice Posting

. Defendant has recently posted an Employee Notice in its facilities regarding the prohibitions against

discrimination under federal employment discrimination laws, specifically, Title VII and the PDA.

This notice shall remain posted for the duration of this Decree.
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Reporting

Defendant will report to the EEOC any allegations or complaints of pregnancy discrimination that
arise at any time within the duration of this Decree. Such allegations or complaints can be oral or
written if reported and/or submitted to the employee authorized to address and/or investigate
Defendant’s discrimination complaints. Such allegations or complaints must be in writing if
reported and/or submitted to Defendant’s other employees. Defendant will submit to the EEOC’s
counsel of record the following information for any such allegation or complaint within thirty (30)
days of receiving notice of the same: (i) the identity of the parties involved, including their full
names, job titles, and contact information; (ii) a detailed summary of the allegations or complaint;
(iii) the steps Defendant has taken to investigate the allegations or complaint; and (iii) the results
of any such investigation including, but not limited to, any disciplinary action taken, including
terminations, as a result of such investigation, if applicable.

For the duration of the Decree, Defendant shall inform the EEOC counsel of record in writing of
any employment action or decision related to the resignation or termination of any employee known
to Defendant to be pregnant. Within fourteen (14) days of such employment action or decision,
Defendant shall provide the following information related to the employee: (i) the employee’s full
name, job title, and contact information; (ii) a summary of reasons why Defendant took such
employment action, or, if applicable, why the employee requested that such employment action be
taken; (iii) the date on which such action was taken; and (iv) a copy of any documents that relate to

and/or support the employment action.

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Monitoring

18. The EEOC will monitor compliance with this Decree as follows:

a. For the duration of this Decree, Defendant must create and maintain such records as are
necessary to demonstrate its compliance with the Decree and 29 C.F.R. §1602 ef seq.

b. Any report, notification, or certification to the EEOC required under this Decree shall be
sent to the EEOC’s Counsel of Record, Tanisha Wilburn, Trial Attorney, Washington Field Office, 131
M Street, N.E., Suite 4NWO02F, Washington, DC 20507.

c. Annually from the entry of this Decree, and one (1) month before the expiration of this
Decree, Defendant shall submit an affidavit or declaration from a person with personal knowledge
establishing that it has complied with the injunctions in paragraphs 10 and 11.

d. Annually from the entry of this Decree, and one (1) month before the expiration of this
Decree, Defendant shall submit a copy of the acknowledgment form for each newly hired employee who
received a copy of its pregnancy discrimination policy pursuant to paragraph 12.

e. Annually from the entry of this Decree, and one (1) month before the expiration of this
Decree, Defendant shall submit a copy of the acknowledgment form for each employee who received
training pursuant to paragraphs 13 and 14.

f. Annually from the entry of this Decree, and one (1) month before the expiration of this
Decree, Defendant shall submit an affidavit or declaration from a person with personal knowledge
confirming Defendant’s continued compliance with the Notice posting requirement in paragraph 15.

g. Annually from the entry of this Decree, and one (1) month before the expiration of this
Decree, Defendant shall submit an affidavit or declaration from a person with personal knowledge

confirming that it has complied with the reporting requirements in paragraphs 16 and 17, and, if necessary,
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supplementing any information that has not already been provided to the EEOC consistent with the
requirements in those paragraphs.
MISCELLANEOUS PROVISIONS

19. | Upon motion of the EEOC, the Court may schedule a hearing for reviewing compliance
with this Consent Decree. Prior to such motion, the EEOC shall notify Defendant, in writing, of the
alleged non-compliance. Upon receipt of written notice, Defendant shall have thirty (30) days either to
correct the alleged non-compliance, and so inform the EEOC counsel of record, or deny the alleged non-
compliance, in writing. Ifthe parties cannot in good faith resolve their dispute, the EEOC may file with
the Court a motion to correct and remedy the breach.

20. The Commission and Defendant shall bear their own costs and attorneys’ fees.

21. The case shall be and hereby is dismissed with prejudice, subject to this Court’s
jurisdiction to enforce the provisions of this Consent Decree.

22. The undersigned counsel of record in the above-captioned action hereby consent, on

behalf of their respective clients, to the entry of the foregoing Consent Decree.

By, the Court:

   

 

  
 

aren M. Williams
United States Magistrate Judge

Respectfully submitted,

 

FOR PLAINTIFF: FOR DEFENDANT:
s/ Debra M. Lawrence s/ Steven E. Angstreich
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Regional Attorney

s/ Maria Luisa Morocco
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